Case 3:16-cr-00341-L Document 33 Filed 03/10/17 Page 1 of 4 Page|D 114

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEXAS

DALLAS DIVISION

UNITED STATES OF Al\/lERICA §

§

§

v. §
§ CASE NO. 31 l6-CR-0034l-l

KYLE SCOTT BOYD §

a.k.a. KYLE SCOTT BYRD §

§

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§

DEFENDANT KYLE BOYD’S MOTION
TO MODIFY CONDITIONS OF RELEASE

Defendant Kyle Scott Boyd, through his undersigned counsel, hereby moves the Court
for an Order to modify the Conditions of Release in this case. In support thereof, Mr. Boyd
submits the following:

1. Mr. Boyd‘s current Conditions of Release allow him to travel to Belize,
Guatemala and Mexico. See Sec. 7(t)(Doc. 16).

2. Mr. Boyd has recently been working on a project with BE-Wind that may
require him to travel to France, Spain and ltaly in March and/or April. He believes there is a
chance that if these sales are completed he will receive a commission that can go towards his
tax liabilities. Mr. Michael Berdan, CEO of BE-Wind, has written a letter in which he
describes his belief that Mr. Boyd’s presence is required to attempt to close the sales. See
Exhibit A.

3. Counsel communicated with Ms. Annie Fuentes at pretrial services who stated

she has no opinion on the travel matter and that Mr. Boyd has been compliant with his

DEFENDANT KYLE BOYD’S
MOTYON TO MODIFY CONDITIONS OF RELEASE

477512 Page 1 of3

Case 3:16-cr-OO341-L Document 33 Filed 03/10/17 Page 2 of 4 Page|D 115

conditions of release and properly notifies her when he is travelling out of the country.
4. On March 9, 2017, Counsel communicated with AUSA David Jarvis, who
indicated the government takes no position on the motion and leaves the matter to the Court’s

discretion.

FOR THESE REASONS, Mr. Boyd respectfully requests that the Conditions of
Release be modified to allow him to travel from his residence at 5734 Vickery Blvd, Dallas,

Texas to France, Spain and/or Italy.

Respectii,llly submitted,

By: /s/Ml'chae[A. Vl`lla Jr.

MICHAEL A_ VILLA, IR.

Texas State Bar No. 24051475

MEADOWS, COLLIER, REED, COUSINS,
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ATTORNEY FOR DEFENDANT

DEFENDANT KYLE BOYD ’S
MOTION TO MODIFY CONDITIONS OF RELEASE

477512 Page 2 of 3

Case 3:16-cr-OO341-L Document 33 Filed 03/10/17 Page 3 of 4 Page|D 116

CERTIFICATE OF SERVICE

I hereby certify that a copy of the above and foregoing motion has been filed
electronicallyJ on this the 10th day ofl\/Iarch, 2017 and a copy sent to the United States Attorney’s
Office and the U,S. Probation Of`ficer through the court’s electronic filing system

CERTIFICATE OF CONFERENCE
On March 9, 2017, counsel conferred with U.S. Pretrial Services Officer Annie Fuentcs

and Assistant U.S. Attorney David Jarvis who stated they have no position on this motion.

By: /s/ Mz`chaelA. Vz`lla Jr.

MICHAEL A. VILLA, JR.

Texas State Bar No. 24051475

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ATTORNEY FOR DEFENDANT

DEFENDANT KYZ,E BOYD’S
MOTYON T 0 MODIFY CONDITIONS OF RELEASE

477512 Page 3 of 3

Case 3:16-cr-OO341-L Document 33 Filed 03/10/17 Page 4 of 4 Page|D 117

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To whom it may concern:

 

| am l\/lichael Berdan, CEO of BE~W|ND LLC.

We are a small wind turbine company, manufacturing in the USA.

l brought Kyle Boyd into our company as our director of business development about four months ago,

Please reference §ztt;">:;’f egg§jjmi;zi§;§r§§ (go to the contact page) and see Ky|e’s position referencedl

Kyle has worked diligently to get our sales moving from single unit sales to multi-unit transactions with commercial users.

Through Kyle's efforts we have an opportunity to close two very large deals.

One 60 plus units and the other over 100 units.

One of the clients has refused to move forward without Kyle's direct involvement

Kyle brought him in and he is demanding Kyle's presence for the site visits.

Kyle and | have tried to interject myself and others as a stand in for Kyle and the client has rejected the idea.

Kyle made me aware of his situation with the government and |RS before l hired him.
Our discussion with Kyle is that his sales commissions will be used toward his government debits until paid.
The closure of these sales represents his ability to more than contribute to his debt.

| would appreciate it very much for Kyle to be permitted to travel outside the US sometime in l\/|arch or April

as the client dictates for these site visits.

The travel will be to France, italy and Spain to high altitude and coastal locations where the sustained winds are high
and BE~WlND products will possibly be installed

Sincerely,

   

MICHAEL BERDAN
214-649-4862
mberdan@be-wind.com

     
 

Exi-iiBiT '

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